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IN THE UNITED STATES DISTRICT COURT JAN 1 9 3d

FOR THE WESTERN DISTRICT OP PENNSYLVANLCLERK u.s. DlSTRlcT cOuRT
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REJEANA SILLA CIVIL ACTION NO. 17_1393
Plamriff,

FIRST AMENDED cOMPLAINT

FlLED PURSUANT TO

RULE 15(a)(1)(B) FRCP

V.

ONE THREEE FIVE INC. d/b/a
BLUSH AND ALBERT BORTZ

Defendant.

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FIRST AMENDED COMPLAINT
FILED PURSUANT TO RULE 15(a) (1)(B) FED. R. CIV. PRO.

|URY TRIAL DEMANDED

Re]eana Silla

430 Taylor St.
Pittsburgh, PA 15224
(412) 694-3806

 

 

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FIRST AMENDED COMPLAINT
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Plaintiff, Re]eana Silla, an individual, brings this lawsuit and files the following First
Amended Complaint against the Defendants, One Three Five, Inc. d/ b / a/ Blush and Albert
Bortz, individually (hereinafter collectively referred to as “Defendants”), for the Defendants’
violations of the Arnericans With Disabilities Act, Title VII of the Civil Rights Act of 1964 in
addition to other claims for violations of the Fair Labor Standards Act and other state law
and alleges the following:

INTRODUCTION

1. Plaintiff incorporates by reference and adopts all of the facts alleged in the original

Complaint as true in this First Arnended Cornplaint. Rule 10(c) provides that statements in a

 

 

 

 

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pleading may be adopted by reference in a different part of the same pleading or in another
pleading or in any motion.

2. This action is brought by the Plaintiff against Defendants, One Three Five Inc.
(“Blush”) and Albert Bortz, in his individual capacity, for violations of Title l of the
Americans with Disabilities Act, 42 U.S.C., §§ 12101 et seq., which incorporate, through 42
U.S.C. § 12117(a), the powers remedies, and procedures set forth in Title Vll of the Civil
Rights Act of 1964, as amended 42 U.S.C. § 2000e et seq.

3. Plaintiff also brings a claim alleging a violation of her rights under Title lll of the
ADA, 42 U.S.C. § 12188. This claim arises from allegations that were also alleged in the
original Complaint (Complaint 1l 54). 42 U.S.C. § 12188(a)(a) adopts remedies and
procedures of § 204(a) of the 1964 Civil Rights Act (42 U.S.C. §ZOOOa-B(a)) lndividuals may
be liable if they are the owner, lessor/ lessee or operator of public accommodation 42 U.S.C.
§ 12182(a); Courts typically require evidence that such individual had supervisory power or
control. See e.g. Lem‘z`m` z/. Ca/zfomz`a Cenlerfor the Arz‘§, Excondz`do, 370 F. 3d 837, 849-850 (9th
Cir. 2004)

4. Defendants are employers within the meaning of 42 U.S.C. § 12111(5) and covered
entities within the meaning of 42 U.S.C. § 12111(2) and 29 C.F.R. § 1630.2(b).

5. Defendants are also employers within the meaning of the FLSA. To be liable for
violations of the FLSA, the defendant must be an "employer." 29 U.S.C. § 206. The FLSA
defines "employer" to include "any person acting directly or indirectly in the interest of an

employer in relation to an employee." 29 U.S.C. § 203(d). “Person may be liable under the

FLSA in an individual capacity while serving as a corporate employer if the individual

 

 

 

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defendant has control over the terms of the employee’s employment.” Harz‘mm v. Re<gemfs of
l‘/)e Um`v. 0fC0/0., 22 P.3d 524, 530 (Colo. Ct. App. 2000).
6. Employee and employer relationships are among the basic building blocks of our
economic and societal structure, affecting most people over the greater part of their lives.
Employment is the means by which society’s goods and services are provided and through
which individuals obtain part of their identity, including the ability or inability to successfully
meet life’s daily economic responsibilities of food, shelter and clothing. Employment also
serves social purposes. The workplace is a place to meet people, converse, and form
friendships. Likewise, the type of employment undertaken may confer social status on
employee and family. Employment loss can be a considerable hardship having disastrous
consequences Fifty years ago, one observer wrote:

“\X/e have become a nation of employees We are dependent upon others for our means

of livelihood, and most of our people have become completely dependent upon wages. If

they lose their jobs they lose every resource, except for the relief supplied by the various

forms of social security. Such dependence of the mass of the people upon others for all

of their income is something new in the world. For our generation, the substance of life
is in another man’s hands.” F. TANNEBA UM, A PHILOSOPHY OF LABOR 9 ( 795 7 )

PARTIES

7. Plaintiff, Re]eana Si]la, is an adult individual residing at 430 Taylor St., Allegheny
County, Pittsburgh, PA 15224 who was employed by Defendants as a dancer at Blush.

8. Defendant, One Three Five lnc., d/ b / a Blush Gentleman’s Club, is a Pennsylvania
corporation and an adult entertainment establishment incorporated under the laws of the

State of Pennsylvania, with a principal business address and is doing business at 135 9th St.,

 

 

 

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Allegheny County, Pittsburgh, Pennsylvania 15222 and operates an adult nightclub under the
name “Blush.” At all relevant times, upon information and belief, Blush’s annual gross
volume of sales was not less than $1,000,000.00.

9. Defendant, Albert Bortz, solely owns the corporation, One Three Five lnc., and the
property and building on and which Blush operates Albert Bortz operates and has complete
control and supervision of his corporation and the business operations of Blush and its
employees and is involved in its employment decisions and daily operations Specifically,
Albert Bortz (1) exercised a high degree of operational control over the terms and
circumstances of Plaintiff7 s employment; (2) supervised, directly and indirectly, the work
performed by the Plaintiff; (3) directly and indirectly exercised the right to hire, Bre, or
modify Plaintiff’ s employment conditions;

10. l\lotably courts that have determined that exotic dancers are employees have held
both the dancer club and its individual owners liable for their violations of the FLSA and
state labor laws. T/)ompson a Lz`nda Q’P°A., Im., 779 F. Supp. 2d 139,153 (D.D.C.2011) (“As
the plaintiffs’ employers, both Allen and The House are liable for violations of the FLSA
and the District of Columbia wage laws.”) see also Mason v. Fantagk Gem‘/eman’§ C/ul) (D.
Colo. _luly 27, 2015) (as the plaintiffs’ employers, both Eardley and the corporation were held

liable

|URISDICTION

 

 

 

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11. This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1331 and
§ 1343 as it is a civil rights action arising under the laws of the United States. Plaintiff is
alleging violations of her rights under Title l of the Americans with Disabilities Act, 42
U.S.C.A, §§ 12101 eli seq. (the “ADA”) and also under Title III of the Americans with
Disabilities Act, 42 U.S.C. § 12182(a)).

12. This Court also has original jurisdiction of this claim herein pursuant to 28 U.S.C. §
1331 and § 1343 (4) This civil action arises under the Constitution and laws of the United
States. Plaintiff is alleging violations of her rights under Title Vll of the Civil Rights Act of
1964, as amended 42 U.S.C. §§ 2000e el Jeq.

13. The Court also has subject matter jurisdiction over this matter pursuant to 28 U.S.C.
§ 201 et seg.

14. Further, this Court also has supplemental jurisdiction over Plaintiff s state law claims
pursuant to 28 U.S.C. § 1367 because they are so related to the claims in the action of which
the courts have original jurisdiction and the claims derive from a common nucleus of

operative facts

PROCEDURAL REQUIREMENTS

15. On April 19, 2016, Plaintiff filed a charge of discrimination against Defendants,
satisfying the requirements of the Equal Employment Opportunity Commission. Such
charge was filed within one hundred eighty (180) days after the alleged unlawful employment

practice occurred.

 

 

 

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16. On ]uly 31,2017, less than ninety (90) days prior to the filing of the Complaint, the
EEOC issued to the Plaintiff a Notice of Right to Sue with respect to such charges of
discrimination, the Americans with Disabilities Act (ADA), Title Vll of the Civil Rights Act
of 1964, and the Genetic lnformation Nondiscrimination Act (GIN A).

17. The incidents described in part below were part of a continuing series of incidents of
harassment and discrimination which constitute a continuing violation by Defendants of the
Plaintiff s rights under the ADA and Title VII. The incidents described below also show a
continuing violation of the Plaintiff s basic work place rights and Defendants’ violations

under the Fair Labor Standards Act.

FACTUAL BACKGROUND
18. Plaintiff was hired at the age of 18 as a dancer in 2005 by Defendant, Albert Bortz.
Plaintiff was hired to work at Defendant’s establishment, Club Elite located at 135 9th Street,
Pittsburgh, Pennsylvania. “Club Elite” is the former name of the Defendant’s current club
name, Blush Gentleman’s Club.
19. ln the ten plus years that the Plaintiff has worked for the Defendants, she built a
dancing career over the years. In addition to working for the Defendants, dancing in
Pittsburgh, the Plaintiff also traveled frequently with other Blush dancers and worked at
many different clubs throughout the country while still being employed by the Defendant.
20. l\/lany dancers also travel to dance at Blush and also dance at other gentleman’s clubs

21. ln addition to working as a dancer, the Plaintiff also worked for the Defendants,

Albert Bortz and One Three Five lnc., promoting for the club at different events

 

 

 

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22. Plaintiff worked an average of 4-6 days a week for the Defendants, while sometimes
working double shifts Plaintiff was required to make and work a weekly schedule that was
required and made by Defendant, Albert Bortz.

23. At times while working for the Defendants, Plaintiff would sometimes work an
excess of 12 hour days and 40 hour weeks In the years that the Plaintiff has worked for the
Defendants, the Plaintiff has paid the Defendants an extremely significant amount of money
from her profits from the champagne rooms, private dances, house fees, late fees, iines, ten
percent of all credit card tips, and additional income that the Plaintiff has earned for the
Defendants, such as club admission from customers, promoting for the club, liquor sales
and returning regular customers over the years

24. The Plaintiff was required by Defendant, Albert Bortz to schedule a minimum of
three days and one day shift per week.

25. Defendant, Albert Bortz required the Plaintiff and the other dancers to work their
scheduled shifts, which consist of 6-7 hours a day. The Defendants also require the dancers
to stay until the end of their shifts, under the threat of fines or termination

26. In addition to the required schedule, the Defendant, Albert Bortz charges fines, late
fees and imposes possible suspensions for calling off work or showing up late to work.

27. In addition to the fines and late fees, the dancers are required to pay house fees, D]
fees and other tip outs. The Defendants require the dancers to pay these tip outs to their
other employees to reduce their labor costs they pay its employees

28. The Defendants also profit a portion of the income earned by the dancers in the

champagne rooms and private dances The amount the dancers are to charge the customer

 

 

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for these services and the amount they are required to pay the Defendants are set by
Defendant, Albert Bortz.

29. In addition to the profits that the Defendants earn from the dancers’ private dances
and champagne rooms, the Defendants also charge an unlawful 10 % on all of the credit
card tips earned by the dancers in addition to charging the customers 10% for the credit card
transaction The dancers pay the Defendants 100/o of their earned “Blush l\/loney”, which is
the name for the club printed money which is obtained from all customer credit card
transactions Therefore, the Defendants are making an additional 20% to the profits earned
from the lap dances and champagne

30. The Defendants do not pay their dancers any wages, yet the dancers are still required
to make a schedule to work hourly shifts, during these shifts the dancers are required to
dance multiple times throughout the evening on different stages in the club as part of the
club’s entertainment The dancers are also required to be on the floor socializing and
working for most of the duration of their shifts

31. The Defendants significantly control and direct the manner in which the dancer’s, the
Plaintiff’s, work is to be performed Dancers are integral parts of the Defendants’ business
The dancers are the primary entertainment and main source of revenue for the Defendants,
and without them, the Defendants would not be in business as a gentleman’s club.

32. One of the three great relationships in private life that shapes our daily affairs is that
of master and servant, which is founded in convenience, whereby a man is directed to call in

assistance of others, where his own skill and labor will not be sufficient to answer the cares

incumbent upon him; W/. BLACKS`TONE, COMMENTARIES 470 (7765).

 

 

 

 

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33. There is an extensive list of club rules and requirements of the dancers to be
performed during these shifts A dress code is also strictly enforced, outfits and accessories
are required for the dancers of Blush. The Defendants also require the dancers to buy and
wear expensive gowns to give their customers the type of “atmosphere” that they intend.
These dresses are available for purchase in the house store, also owned by the Defendant,
Albert Bortz and his wife, Sabrina Bortz. They also control as to how much makeup the
dancers are required to wear. Defendants do not reimburse the Dancers for the cost of their
required outfits

34. Defendant, One Three Five lnc., (“Blush”), is an adult entertainment establishment
that caters to male clientele by providing entertainment by female dancers, the Plaintiff, in
various states of undress.

35. Defendants’ business is based entirely on the use of the dancers in order for the
company and its owner to earn a profit Defendants do not pay them any money for the
work that is performed

36. The Plaintiff had started her dancing career when she was 18 working for the
Defendants The acts alleged in this complaint also ruined her ability to be able to dance at
other clubs and prevented future income at other clubs Plaintiff was exposed to defamation,
embarrassment and PTSD from the events that occurred. The Plaintiff was subjected to
physical and mental abuse by different individuals who were employees of the Defendants
37. On l\/larch 14, 2015, Plaintiff was suspended for six months by the Defendants’
general manager after she had called off work. This was not a typical suspension, and the

Plaintiff was initially only supposed to be suspended for a week for calling off. During the

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evening that the Plaintiff called off work, she was sexually and verbally harassed by two
separate female dancers from Blush. The Plaintiff was told she was never getting her job
back and they ended up making the Plaintiff leave very early in the morning after having her
come to where they were staying and then once she arrived, started questioning why she was
there. (original Complaint jj 28).

38. A few weeks later during the Plaintiff s birthday, the same dancers mentioned in the
above paragraph had harassed the Plaintiff again regarding her birthday, sexually harassed
the Plaintiff by making up accusations about her, and also harassed her about her job
suspension that occurred on l\/larch 14, 2015.

39. The Defendants’ general manager, would continually discuss the status of the
Plaintiffs job with other employees and customers (original Complaint jj 30).

40. ln l\/lay, 2015, Plaintiff was subjected to more slander and harassment by another
employee of the Defendants after one of the Plaintiff s work trips to New York, and rumors
and false and embarrassing allegations were spread about the Plaintiff by this dancer.
Plaintiff was also not allowed to attend a social event at the club during her suspension after
she returned from the trip to New York City. (original Complaint jj 31).

41. ln ]une, 2015, the same dancer mentioned in the above paragraph in addition with
two other dancers, who were employees for the Defendants, intentionally and maliciously
sabotaged Plaintiff s trip to Las Vegas. During the trip, the Plaintiff was subjected to
defamation, sexual harassment and photos and posts made on social media by these dancers
with sexually degrading comments and insults This was a preplanned trip that the Plaintiff

had planned with other dancers, the Plaintiff traveled to Vegas with one of the dancers, who

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during the trip poured water on the Plaintiff while she was sleeping The dancers blocked the
Plaintiff on social media and the Plaintiff was left stranded for almost two weeks while out in
Vegas by herself after the dancers posted online that she was not going to be getting hired
anywhere out there. The trip was preplanned with one of the dancers who lived and worked
both in Pittsburgh for the Defendants and in Las Vegas. (original Complaint il 32).

42. On October 15, 2015, Plaintiff was jumped and punched in the head multiple times
at an after-hours club, which was initiated by the same dancer referred to from the New
York City trip.

43. ln November, 2015, Plaintiff suffered from a stress~induced psychotic break.

44. On November 21, 2015, the Plaintiff was at work at Blush and and started to not feel
very well while she was working and started to suffer from mild confusion and extreme
anxiety. ln addition to the anxiety that the Plaintiff was already having, she was pranked by a
group of individuals at Blush. There was no maliciousness in this prank that occurred, yet
the Plaintiff did start to develop mild delusions later in the evening as a result from it.
Plaintiff informed the general manager of this and of how she was feeling, and he told her
not to worry about it and that she should not be concerned with what the group of
individual customers in the club were saying to her. Plaintiff returned home after work that
evening where the delusions progressed and the Plaintiff developed a stress induced type of
insomnia.

45. The following day on November 22, 2015, while the Plaintiff was in an impaired
mental state, she had contacted an individual who was a previous front desk employee for

the Defendants to pick her up and take her back to the club. However, when he picked her

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up in the morning, he did not take her directly to the club because he had errands to run all
day and did not end up taking her to the club until later in the evening. While he was out
running his errands during the day, the Plaintiff was informing him of very irrational beliefs
she was having, and made no suggestion or reference to her that something was wrong with
the way she speaking or thinking. lnstead, especially later in the evening he would reassure
her and contribute to the irrational beliefs she was having. After he had driven her to Blush,
he sat with a friend of his drinking at the club for hours, the Plaintiff briefly left for a while
to get something to eat and then returned to the club.

46. While at the club, the Plaintiff was in a state of confusion, mental impairment and an
extreme state of fear as a result of the mental impairment The Plaintiffs pupils were also
extremely dilated. The general manager stated to the Plaintiff, that because of how her pupils
looked, that she was on drugs When the Plaintiff told him that she was not on any drugs
and had not drank any alcohol, he still did not believe her, accused her of being on drugs and
said she had to leave. The Plaintiff asked him to call the police because something was not
right, additiona]ly, she also asked him to call the owner, Albert Bortz. The general manager
initially picked up the phone and said he would call the police, and then he changed his
mind, decided not to call the police and told the Plaintiff to leave. The Plaintiff just informed
him that she started not to feel well the evening prior while working, so he should have
known something was not right instead of discriminating against her by assuming that she
was on drugs even after she stated to him that she wasn’t. Instead, he just ignored what the
Plaintiff was telling him. The Plaintiff was also tested later after being admitted to the

hospital and no drugs or alcohol was found in her system. The general manager then

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informed the male individual who brought her to the club, and who had been drinking for
hours at the club to take the Plaintiff out of the club with his friend. The Plaintiff informed
the general manager that she was afraid to leave with him and did not want to leave with
him. lnstead, he still forced the Plaintiff to leave with the Defendant’s former employee after
she had asked multiple times for the police or someone to be called.

47. Once the Plaintiff left with this individual, the state of her medical condition had
severely progressed, and she was taking advantage of mentally and physically by sexual
assault. The Plaintiff also suffered from additional trauma and neglect, because while in this
state he drove the Plaintiff around for another day to different places while lying to her and
pretending that the beliefs she was having were true. During this time the delusions had
progressed further into audible and visual hallucinations

48. A day later on November 23, 2015, the Plaintiff was driven back to the club by this
individual Once the Plaintiff returned to the club, he did not come back into the club. At
this time, the Plaintiff was not only suffering from severe hallucinations, but she was also
experiencing neurological damages to where her body was also under severe motor
impairment and twitching. The police were called to the club, where the Plaintiff informed
them of the irrational beliefs she was having. They did not take the condition too seriously,
and the Plaintiff ended up leaving the club on her own By the time the Plaintiff was even
hospitalized later in the evening, which was almost three days without any sleep due to the
insomnia, the Plaintiff s condition at the hospital was diagnosed at the time as severely

mentally disabled. (original Complaint M 38-41)

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49. On November 23, 2015, Plaintiff was admitted to Western Psychiatric liospital,
where she was admitted for 12 days during the holiday season

50. While the Plaintiff was in the hospital, she was visited by the Defendant, Albert
Bortz’s wife, Sabrina Bortz. Plaintiff had agreed to sign a release for them to have the
records from her drug test and for them to be able to discuss her medical information with
the hospital.

51. A few days after the Plaintiff was released from the hospital, she returned back to
work at the club. Some times while at work, the Plaintiff would start to feel overwhelmed for
many different reasons, including comments made by the general manager and other
employees Sabrina Bortz had even informed the Plaintiff that some of the dancers were
messing with her. The Plaintiff then decided to take a break from the club, and Albert Bortz
had informed her that was fine. The Plaintiff took a two week break on December 21, 2015.
52. On january 4, 2016, the Plaintiff had a drink thrown on her during a New Years Eve
party at a night club and was pinched by one of the dancers who was employed by the
Defendant. (original Complaint jj 49).

53. The Plaintiff spoke with Albert Bortz over the phone and informed him she was
going to come back to work. He told the Plaintiff that he wanted an authorization signed for
release of her medical information from her therapist and psychiatrist’s office in order for
them to discuss information with them regarding the Plaintiff and in order for her to work
there. The Plaintiff had agreed with him that was fme, so she could continue to work there
and the Plaintiff returned to work within the followirig week in january, 2016. The plaintiff

signed release forms for authorization for the Defendants from the medical office at the

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Primary l-lealth Network to release information and give permission for Defendant, Albert
Bortz and his wife Sabrina Bortz to obtain and discuss Plaintiff s medical records with the
office.

54. Once the Plaintiff returned to work she dealt with more harassment such as being
called “schizophrenic” by one of the dancers because of her hospitalization, and other
dancers would tell her in front of customers that the general manager was calling her crazy
and did not want her there. Plaintiff was also additionally harassed while working in front of
customers by certain dancers The general manager would also make comments to the
Plaintiff that she was not trying to make money like she normally did. (original Complaint
jj46-47)

55. On February 7, 2016 the Plaintiff received a phone call from the Defendants’ general
manager while she was at home. He informed her that she was being taken off of the
schedule and was being fired at this time and they couldn’t have her work there anymore
because she was hearing voices When she told him that was not true, he proceeded to call
her crazy and said that she was in the hospital for hearing voices and they just couldn’t have
her there. The Plaintiff told him that Albert and Sabrina were already well aware of the
incident that led to her hospitalization, and that she wasn’t hearing voices lie continued to
call her crazy again and said he was busy and had to go. She then asked to speak to the
owner, Albert Bortz, and the manager informed her that he was on vacation and would be

back in about a week.

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56. Within the few days following the Plaintiff s suspension, the Defendants had hired
back one of the employees who was involved in some of the incidents referred to above. (jjjj
39-41,51)

57. Plaintiff called the club about a week later and spoke to the Defendant, Albert Bortz,
who informed the Plaintiff that she could not work there anymore. The Plaintiff informed
him of the conversation she had with the general manager and that he was accusing her of
hearing voices and calling her crazy. She also told him that the manager said she could not
work there because she was in the hospital for those reasons The Defendant, Albert Bortz
then told the Plaintiff that they weren’t the crazy ones and told her to go and try to work
somewhere else and see what they think. The Plaintiff then told him she was following up
with her therapists like he had asked and asked if she could call back in a few weeks to talk
to him regarding her job, he said no and then he hung up on her. The Plaintiff then went
and worked at the Penthouse Club and on the first day at work there since being fired at
Blush, the Plaintiff was subjected to a sexual assault and a few days later had threats made to
her by one of the dancers who also worked for the Defendants, because she reported the
incident that occurred. This dancer also posted photos of the Plaintiff on her social media.
These photos consisted of sexual derogatory signs that were placed on the Plaintiff at the
Penthouse Club while she was sleeping waiting for her ride at the end of her shift in the
dressing room and while food was also put on her. The Plaintiff was barely dressed when the
signs were made and photos were taken by one of the managers for the Penthouse Club.
This was not the first time that the dancer and one of the managers had taken crude photos

like this of the Plaintiff.

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58. On April 19, 2016, the Plaintiff stopped into Blush to personally speak with the
Defendant, Albert Bortz and management The Plaintiff was informed that Albert was on
vacation and she had asked to speak with the manager One of the dancers came into the
lobby and told the Plaintiff that the manager, Ryan, who is the son of Sabrina Bortz, said
that she needed to leave and that they did not want her there and she had to go. The Plaintiff
then informed the dancer that she wanted to talk to him because she had signed all of the
proper release forms that the Defendants had asked and she was told that she had to leave.
The Plaintiff was not even permitted to be on the premises of the club, which is a public
place after she was fired for the reason of her having a disability. The Plaintiff even tried to
message Sabrina Bortz and management without receiving any messages in return prior to
going there to talk to them in person (original Complaint jj 54).

59. On April 19, 2016, Plaintiff filed an initial complaint with the Pennsylvania l-luman
Relations Commission.

60. On july 6, 2016, a formal complaint of discrimination was filed against the
Defendants with the EEOC and Pennsylvania l-luman Relation Commission. The
commission encourages both parties to consider negotiating a settlement prior to a
Commonwealth determination on the merits of the Complaint Plaintiff was informed by the
commission that the fact finding conference that was scheduled on December 8, 2016, was
cancelled due to the Defendants’ decision not to attend The Plaintiff was later informed that
that the Defendant still decided to attend without her being notified

61. Plaintiff s stress, anxiety, and depression continued to get worse from the job loss and

especially in looking for other employment The stress and anxiety also affected other

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aspects of her daily life. On l\/lay 8, 2016, the Plaintiff was also diagnosed with depression at
A]legheny Valley Hospital. (original Complaint jjjj 57-58).

62. The Plaintiff saw the Defendant, Albert Bortz on july, 17, 2016 at a club in
downtown Pittsburgh. Prior to this, the Plaintiff had not gone to many social events except
New Years Eve since her hospitalization in November 2015. ( jj 52).

63. The Plaintiff had a conversation with the Defendant, Albert Bortz, where they
discussed a few different things such as, the incidents that occurred against the Plaintiff at
the Penthouse Club, her filing with the Human Relations Commission, her employment with
Blush and where she was currently employed, because he wanted to know where she was
currently working so he could send business to her there. (original Complaint jj 60).

64. On july 19, 2016, Albert’s wife, Sabrina Bortz contacted the Plaintiff on social media
and told her that she had seen photos online that the Plaintiff had seen the Defendant,
Albert Bortz, while he was out one evening as mentioned in the above paragraph. She told
the Plaintiff that she had not seen her in a while and wanted to meet her for lunch, and on
july 22, 2016, the Plaintiff met with her at a local restaurant in downtown Pittsburgh where
they talked about a number of things involving incidents that occurred with the Plaintiff and
her employment at Blush. Some of the incidents that the Plaintiff informed her of, she said
she was not aware had occurred She also told the Plaintiff again during this time that she
told her before that some of the dancers at work were messing with her while she was
working. They also discussed other incidents that occurred and the conversation that the

Plaintiff had with the Defendant, Albert Bortz, that is alleged in the above paragraph.

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Plaintiff told her that she tried to contact her on social media, but she said that she did not
receive any of her messages

65. Plaintiff received a letter from the Human Relations Commission that was mailed on
Dec 7, 2016. The letter informed her that the office received the Respondent’s answer to the
allegations in the complaint. The Defendants’ Answer contained denials to factual allegations
alleged by the Plaintiff and also contained false information and allegations about the
Plaintiff in the New l\/Iatter that they alleged

66. The Commission informed her that she had the opportunity to rebut the
Respondent’s Answer and to include in her rebuttal any documents, witness statements
and/ or any documents they should request from the Respondent. They also instructed her
to provide answers to a list of items mailed from the commission

67. Plaintiff was given a notice to submit all of this information within fifteen days by
December 22, 2016.

68. Plaintiff submitted all of the above that was asked of and also her Rebuttal and
Answer to the Defendants’ New l\/latter in addition to Plaintiffs additional allegations that
are alleged in this Complaint, and the Plaintiff never received any further response from the
Defendants

69. Since the job loss and filing of the complaint with the commission and EEOC, the
Plaintiff struggled with job searched and employment which added severe financial and
emotional stress. Additionally, she has suffered with social losses, PTSD and other physical
illnesses that required her to see many medical specialists, therapists and to have other

testing done.

 

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70. The Plaintiff also asserts that while this is an extensive complaint, the allegations are
clearly alleged and show the Court the duration and the different number of incidents that
the Plaintiff was a victim to in addition to the multiple continuing acts and violations of the
Defendants and needed to be asserted to show the Plaintiff states valid claims for relief. The
Plaintiff also had to address and clarify issues in this complaint that were raised in the
Defendants’ motion to dismiss see (ECF No.4). Additiona]ly, many of the assertions can be
easily addressed by confirming rules of law or confirming statements of fact.

71. On june 22, 2017, the Plaintiff had a neuropsychological evaluation done, which had
shown the Plaintiff to have anxiety, depression and a stress disorder.

72. After two years of suffering with unknown causes for physical symptoms the Plaintiff
was having, on December 20, 2017, the Plaintiff was able to get a proper diagnosis by her
Psychiatrist’s office at the Allegheny Health Network’s, Department of Psychiatry, and was
diagnosed and prescribed medication for Somatic Symptom Disorder. The Plaintiff is still
continuing treatment with the Psychiatrist and the therapist’s office.

73. Lastly, the Plaintiff had seen a neurologist and a balance disorder specialist at UPMC
on january 8, 2016 where he tested and addressed some of the additional balance problems
to be a result from anxiety.

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FIRST CLAIM FOR RELIEF-VIOLATION OF TITLE I OF THE ADA,
DISCHARGE DISABILITY DISCRIMINATION

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74. Plaintiff realleges and incorporates the above paragraphs as if the same has been set
forth again herein

75. To establish a prima facie case under the ADA, a plaintiff must show that: “She is a
qualified person within the meaning of the ADA, that she is qualified to perform the
essential functions of the job (either with or without reasonable accommodation), and that
she has suffered an adverse employment action under circumstances from which an
inference of unlawful discrimination arises.”

76. An “employer” for ADA purposes is “a person engaged in an industry affecting
commerce who has 15 or more employees for each working day in each of 20 or more
calendar weeks in the current or preceding calendar year.”

77. Defendant, One Three Five Inc., is an employer, and at all times relevant is “a person
engaged in an industry affecting commerce who has 15 or more employees for each working
day in each of 20 or more calendar weeks in the current or preceding calendar year,” and has
employed 15 or more employees throughout the relevant time period.

78. Defendant, Albert Bortz, is an employer, and at all times relevant is “a person
engaged in an industry affecting commerce who has 15 or more employees for each working
day in each of 20 or more calendar weeks in the current or preceding calendar year,” and has
employed 15 or more employees throughout the relevant time period

79. Defendants are employers within the meaning of 42 U.S.C. § 12111(5), and covered
entities within the meaning of 42 U.S.C. § 12111(2) and 29 C.F.R. § 1630.2(b).

80. On April 19, 2016, Plaintiff filed a timely charge of discrimination with the Equal

Employment Opportunity Commission (EEOC) alleging that the Defendants discriminated

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against her in violation of the ADA by unlawful discharge from employment due to a
disability.

81. On November 24, 2015 Plaintiff was hospitalized and treated for a medical condition
at \X/estern Psychiatric lnstitute and Clinic where she was diagnosed with a disability after
suffering from a severe stress induced psychotic break.

82. Plaintiff had returned to work for the Defendants after the hospitalization where she
had been harassed on multiple occasions while at work due to the disability and the
hospitalization

83. Additionally, the Defendants’ general manager, would discuss and insult the Plaintiff
to other dancers, who later would also harass the Plaintiff regarding her job while at work.
They would also make these insults to the Plaintiff iiifront of customers while she was at
work.

84. Plaintiff informed the Defendant, Albert Bortz on Dec 21, 2015, that she needed a
break and that she was going to take a few weeks off. He informed her that was fine.

85. The Plaintiff had returned back to work at Blush the second week of january, 2016.
The Plaintiff had also worked two promotional events in january promoting for the
Defendants on january 13, and january 24, 2016 at the convention center.

86. Once the Plaintiff returned to work, the Plaintiff was still pranked and harassed at
work. The Defendants were aware of this, and Sabrina Bortz would also have conversations
with the Plaintiff letting her know that this was occurring while she was working

87. On February 7, 2016, Plaintiff received a phone call from the Defendants’ general

manager informing her that they couldn’t have her work there anymore and he was taking

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her off of the schedule because of her disability and because she was in the hospital due to
her disability. l-le also called her crazy and had accused her of hearing voices She insisted on
talking to the owner, Albert Bortz, and was told that he was on vacation and would be back
within a week.

88. About a week later, the Plaintiff called Defendant, Albert Bortz. She informed him of
the conversation that she had with the general manager and that he had taken her off of the
schedule and was making up accusations about her hearing voices that wasn’t true. Albert
Bortz proceeded to tell her that she could not work there and said, “We aren’t the crazy ones
here, why don’t you go and try to work somewhere else and see what they think.” The
Plaintiff then asked if she could please call back in a few weeks and he said no and hung up
on her.

89. After the Plaintiff was taken off of the schedule at Blush, she went and worked at the
Penthouse Club where she became a victim of additional assaults and harassment the
following week.

90. Additionally, prior to when the Plaintiff was fired in February, the Defendant, Albert
Bortz, required a release of personal medical information to them regarding the disability
and had also required that the Plaintiff seek treatment with a therapist and a psychiatrist in

order to keep her employment at Blush.

91. Americans with Disabilities, § 12112(d)(4j(A) provides that a covered entity:

Shall not require medical examination of their employees for the purpose of
determining whether such employee is an individual with a disability or as to the
nature or severity of the disability unless the examination is shown to be job-related
and consistent with business necessity

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j 92. No covered entity shall discriminate against a qualified individual with a disability

j because of the disability of such individual in regard to job application procedures, the
hiring, advancement, or discharge of employees, employee compensation, job training, and
other terms, conditions, and privileges of employment 42 U.S.C. § 12112 (a)

93. A covered entity may not participate in a contractual or other arrangement or
relationship that has the effect of subjecting a covered entity’s qualified applicant or
employee with a disability to prohibited discrimination 42 U.S.C. § 12112(b)(2)

94. Because the Plaintiff is and was a qualified individual with a disability, and because
the Defendants terminated the Plaintiffs employment due to her disability, the Defendants
have discriminated against the Plaintiff in violation of 42 U.S.C.A § 12112(a)

SECOND CLAIM FOR RELIEF- VIOLATION OF TITLE I OF THE ADA,
EMPLOYMENT DISCRIMINATION FOR HAVING A “RECORD OF” A
DISABILITY OR BEING “REGARDED AS DISABLED”
95. Plaintiff realleges and incorporates paragraphs above as if the same has been set forth
again here in
96. Although the Plaintiff has suffered from and was diagnosed with a disability, to bring a
discrimination claim under the ADA, a plaintiff need not prove that she actually suffers from,
or has been diagnosed with, a disability An employee may state a valid cause of action if she
is “regarded” by her employer as having a record of impairment that substantially limits one
or more of her major life activities
97. Defendants not only intentionally discriminated against Plaintiff in violation of the
ADA by its discharge of her due to a disability, but in that they also discharged her by

accusing her of hearing voices, and because she was in the hospital due to the disability

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98. As a direct and proximate result of said intentional and discriminatory conduct, Plaintiff
has not only lost income and other benefits, but she has suffered severe emotional distress,
humiliation, embarrassment, pairl and suffering, future employment in the dancing industi'y,
and she had suffered other losses, all of which will be proven at the trial of this action

99. Defendants’ discriminatory conduct exhibited a willful and reckless indifference to

Plaintiffs federally protected right to be free from disability discrimination

THIRD CLAIM FOR RELIEF- VIOLATION OF TITLE I OF THE ADA

100. The Plaintiff realleges and incorporates the above paragraphs as if the same has been
set forth here in.

101. The Defendants had required that the Plaintiff sign a release of her medical
information and an authorization to give permission for them to speak with her psychiatrist’s
office at the Primary Health Network in order to keep her employment there, which was
after the Plaintiff had already been asked to sign a release of information for the Defendants
to speak with hospital staff and obtain a copy of her drug test during her hospitalization in
November 2015. The Plaintiff had signed a release of this information to the Defendants

102. By participating in a contractual or other relationship that had the effect of subjecting
the Plaintiff to prohibited discrimination on the basis of a disability, the Defendants have

violated 42 U.s.c. § 12112 (b)

FOURTH CLAIM FOR RELIEF- VIOLATION OF TITLE III OF THE ADA
103. The Plaintiff realleges and incorporates the above paragraphs as if the same has been

set forth here in.

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104. Title HI of the ADA provides that “no individual shall be discriminated against on
the basis of a disability in the full and equal enjoyment of the goods, services, facilities,
privileges, advantages, or accommodations of any place of public accommodation.” 42
U.S.C. § 12182(a)).

105. To prove a Title lll ADA claim, a Plaintiff must prove 3 elements in order to prevails
(1) that the plaintiff is disabled within the meaning of the ADA; (2) that the defendant owns,
leases, or operates a place of public accommodation; and (3) that the defendant
discriminated against the plaintiff on the basis of his/ her disability

106. The ADA covers not only intentional discrimination, but also the discriminatory
effects of benign neglect, apathy, and indifference

107. Title lll does not cover employment discrimination, which is instead covered by Title
l of the ADA, but it does however protect individuals who are not employees from work-
related discrimination see e.g. Men,éou/z`z‘z a Poim‘own Memon'a]Medz`m/ Cem‘er, 154 F.3d 113 (3rd
Cir. 1998) (independent contractor doctor could sue hospital for discriminatory denial of
staff privileges)

108. One general rule of general prohibitions is construed to prohibit covered entities
from the goods, services, facilities, privileges, advantages, or accommodations of an entity
42 U.S.C. § 12182(b)(1)(A)(i); 28 C.F.R. §36.202(a)

109. Violation of a general prohibition alone is sufficient to state a prima facie case.

110. Individuals may be liable if they are the owner, lessor/ lessee or operator of public

accommodation 42 U.S.C. § 12182(a); Courts typically require evidence that such individual

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had supervisory power or control. See e.g. Lem‘z'm` v. Calzfomz`a Cem‘erfor the An‘s, Escondz`do, 370
F. 3d 837, 849-850 (9th Cir. 2004)

111. Defendant, Albert Bortz, owns, operates and has supervisory power and control of
Defendant, One Three Five Inc., (“Blush”), and is involved in the daily operations of the
club and its employees

112. While the Defendants violated the Plaintiff7 s rights under Title l of the ADA for
employment discrimination, they also violated under Title lll of the ADA, because after they
fired the Plaintiff due to a disability, she was not even permitted to be on the premises of the
club. Title HI of the ADA also prohibits retaliation (original Complaint jj 54).

FIFTH CLAIM FOR RELIEF- INVASION OF PRIVACY

113. The Plaintiff realleges and incorporates the above paragraphs as if the same has been
set forth again here in
114. The fourth claim is for lnvasion of Privacy. To state a claim, the Plaintiff must allege

the following key elements (1) intentional conduct that (2) intrudes upon a (3) sphere or
zone of privacy in (4) a way that the law deems especially offensive

115. An important dictum emphasizes that the defendant must be seeking information
about the plaintiff “by improperly intrusive means”.

116. The Defendants required a release of the Plaintiff s personal and medical information
on more than one occasions The Defendants did this by offensive and intrusive means,
because they had required the Plaintiff to do this as a stipulation of keeping her employment
at Blush, which was also a product of “duress”. Plaintiff was fraudulently misled by believing

that she had to permit them to view her records and give them permission with her

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psychiatrist’s office in order to keep her employment at Blush. Plaintiff also signed a release
of authorization for them to speak and obtain information about the Plaintiff including drug
test results during her hospitalization at Western Psych in November 2015.

117. The Defendants also violated Federal law under the ADA in regards to Defendant,
Albert Bortz requiring a release of her medical records and to seek treatment and sign a
release from the psychiatrist’s office in order for her keep her employment with Blush.

118. Americans with Disabilities, § 12112 (d) (4) (A) provides that a covered entity:

shall not require medical examination of their employees for the purpose of
determining whether such employee is an individual with a disability or as to the
nature or severity of the disability unless the examination is shown to be job-related
and consistent with business necessity

119. She was also required to bring in copies of her drug test results from her outpatient
treatment in 2014, even though the Plaintiff still brought copies of her records from her
treatment program, Defendants still alleged and made false accusations of Plaintiff coming
into work on drugs

120. In addition to being required to sign these releases in order for her to continue her
employment with Blush there are also additional violations of invasion of privacy laws that
the complaint alleges ln recent years many legislatures and courts have found reasons to
limit intrusion into private areas This also regulates disclosure of employment information
to third parties When employers disclose employment information to third parties other
interests are implicated

121. The Defendant’s general manager discussed Plaintiff s employment status with other

employees and customers of Blush in addition to making derogatory statements regarding

Plaintiff and her disability to other employees and to customers

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122. Statements made to an employer’s clients may cause embarrassment, may subject an
employee to ridicule, or may have even more direct economic impact, by limiting future
employment prospects

123. Even though the Plaintiff has already showed multiple causes for invasion of privacy,
other circumstances would occur to also show other forms of invasion of privacy For
example, Sabrina Bortz would have conversations in the dressing room with the house mom
and other employees regarding the Plaintiff after her hospitalization in November 2015. In
Bmll v. I)zlemal‘z'ona[Macl)z`nei Co)j)., 392 l\/lass. 308,467 N.E.Zd 126 (l\/lass.1984), the court
found an employer breached the state’s privacy statute if it wrongfully disclosed an
employee’s medical information

SIXTH CLAIM FOR RELIEF- VIOLATION OF TITLE VII OF THE CIVIL
RIGHTS ACT OF 1964, SEXUAL HARASSMENT AND HOSTILE WORK
ENVIRONMENT
124. Plaintiff incorporates and realleges above paragraphs of this complaint as if the same
has been set forth again here in.
125. Under Title Vll, the term “employer” means a person engaged in an industry
affecting commerce who has fifteen or more employees for each working day in each of
twenty or more calendar weeks in the current or preceding calendar year, and any agent of
such a person

126. Defendants, One Three Five Inc., and Albert Bortz are both employers of the

Plaintiff.

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127. Title VII prohibits not only intentional discrimiiiation, but also practices that have the
effect of discriminating against individuals because of their race, color, national origin,
religion, or sex.

128. The Equal Pay Act (“EPA”) prohibits discrimination on the basis of sex in the
payment of wages or benefits, where men and women perform work of similar skill, effort,
and responsibility for the same employer under similar working conditions

129. The EPA covers all employers who are covered by the Federal Wage and l-lour Law
(the Fair Labor Standards Act).

130. On june 24, 2013, the United State Supreme Court held, in Vance a Ba// Slate
Univem"lj/, that an employee is a supervisor for purposes of vicarious liability for unlawful
harassment under Title VII if he or she is empowered by the employer to take tangible
employment actions against the victim.

131. Under Title Vll, a “hostile work environment” is one which is “permeated with
discriminatory intimidation, ridicule, and insult sufficiently severe or pervasive as to alter the
Plaintiff s employment and create an abusive working environment.”

132. Federal district courts and appellate courts have held that the claim of “hostile work
environment” is available to ADA claimants, as it is to plaintiffs under Title VII of the Civil
Rights Act of 1964. Keever a Cz`g/ osz'dd/el‘own (U.S. 6ch Cir.) (citations omitted)

133. To demonstrate a hostile work environment claim, a plaintiff must show that she was
subjected to conduct that unreasonably interfered with her work performance or created an

intimidating, hostile, or offensive work environment The employer must be shown to have

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engaged in “harassment so severe or pervasive as to alter the conditions of employment and
create an abusive working environment.”

134. The court, in determining whether a working environment is hostile will examine the
frequency and severity of the alleged discriminatory conduct, whether the conduct is
physically threatening or humiliating, and whether it unreasonably interferes with an
employee’s work performance

135. During the course of the Plaintiff s employment, she was subjected to sexually
derogatory comments by employees of the Defendants and under the supervision of
Defendants, One Three Five lnc., and Albert Bortz. Plaintiff had reported these incidents to
management of One Three Five. Inc., on multiple occasions Some of these comments were
also made about the Plaintiff by the Defendants’ general manager.

136. To establish a Title Vll claim for a violation of the Civil Rights Act of 1964 for
harassment and hostile work environment the Plaintiff must allege the follong elements
(1) the plaintiff was subjected to [slurs, insults, jokes, or other verbal comments or physical
conduct of a sexual nature[ sexual advances, requests for sexual conduct, or other verbal or
physical conduct of a sexual naturej [ conduct affecting other Title VII protected
characteristicsj (2) the conduct was unwelcome (3) the conduct was sufficiently severe or
pervasive to alter the conditions of the plaintiffs employment and create a sexually or other
Title VII protected characteristic abusive or hostile work environment (4) the plaintiff
perceived the working environment to be abusive or hostile and (5) a reasonable person in
the plaintiffs circumstances would consider the working environment to be abusive or

hostile. . .The elements of this instruction are derived from Fz///er a Cz"lj/ oan,€/and, Ca/zfomz'a,

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47 F.3d 1522,1527 (9th Cir. 1995). The language in the instruction regarding the factors used
to determine whether a working environment was sufficiently hostile or abusive is derived
from Ham's a For,é[zj)l‘ .S`)/slflwzs, Inc., 510 U.S. 17, 23 (1993).

137. The Plaintiff was also harassed and called names, such as “schizophrenic” after she
was hospitalized by an employee while working for the Defendants regarding her disability,
and was also called named by the Defendants’ general manager to other employees, who also
would harass and talk about the Plaintiff iiifront of customers The general manager would
also discuss the Plaintiff s employment with other individuals

138. Sabrina Bortz would also talk with the Plaintiff to let her know that employees were
“messing” with her and pranking her after she returned to work after her hospitalization in
November, 2015.

139. The courts have even also recognized pranks to be a battery tort.

140. fn addition to establishing a hostile work environment claim, to state a prima facie
case for discrimination under Title VII Plaintiff must allege the following elements (1) the
employee is in a protected class (2) the employee was qualified for the position (3) the
employee was rejected for the position, or the employee was fired (4) an employee outside of
the protected class was selected for the position, or the employer continued to look for
candidates

141. The Defendants’ general manager who had later fired the Plaintiff in February, 2016,
due to her disability after being harassed and pranked at work because of the disability and

her hospitalization due to the disability, had hired back a dancer a week after firing the

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Plaintiff, who was involved in numerous incidents that occurred against the Plaintiff,
including incidents of battery, sexual harassment and defamation (jjjj 40-42,52).
142. Additionally, in “disparate treatment” or “overt discrimination” cases, a plaintiff must
generally prove three things at the outset by a fair preponderance of the credible evidence:

(1) that the plaintiff falls within a protected category

(2) that the defendant’s actions were directed at the plaintiff;

(3) that the defendant’s actions discriminated, restricted, or made a distinction as to

plaintiff by virtue of their membership in the protected category

ln doing so, a plaintiff must plead and prove that the defendant made statements to or took
actions to or about the plaintiff of such a nature that a reasonable mind might conclude
discrimination Kaiz v. Marrac/)usem Commzm'on Againlt Dz`scrz`/)zz`nalz`on, 365 l\/lass. 357,312
N.E.2d 182(1974)
143. ln addition to the disparate treatment due to the Plaintist disability, the general
manager had also used other forms of disparate treatment against the Plaintiff during her
employment at Blush. lie would discuss the Plaintiff’s employment with customers on an
ongoing occurrence and additionally after the Plaintiff had reported that she was severely
verbally sexually harassed by two dancers one evening after being suspended for a week for
calling off work, the general manager ended up suspending the Plaintiff for six'months in
March 2015. The dancers had accused the Plaintiff of sexual acts with individuals that was
not true., had sent messages to the Plaintiff on social media regarding this, and had also told

the Plaintiff during her suspension that she was never getting her job back. The Plaintiff was

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only supposed to be suspended for a week for calling off, but was suspended for six months
and then returned to work iii August 2015. (jjjj 37-39).

144. Another form of disparate treatment and discrimination is while the Plaintiff was at
Blush suffering from a mental impairment prior to her being hospitalized in November
2015, she had asked for the police and the owner of the club to be called The Plaintiff had
just worked the evening prior when she had informed the general manager that she started
not to feel well. Instead of calling for any type of assistance for the Plaintiff, the general
manager discriminated against the Plaintiff believing that she was on drugs, and had forced
her to leave with a male individual who was a former employee The severity of the

Plaintiff s condition was very recognizable, and the general manager even made reference
about her pupils being extremely dilated. The Plaintiff had informed him that she did not
want to leave with him and his friend who she did not know. ln the vehicle after first leaving
the club, the Plaintiff had to keep pushing this individual away from her after he kept trying
to kiss her. The Plaintiff then had a severe neurological and physical motor impairment that
developed during this time in addition to developing audible and visual hallucinations and
was mentally and sexually taken advantage of by this individual The Plaintiff then spent 12
days in Western Psychiatric l_lospital, while also complaining of sexual abuse in a severely
disabled mental state

145. Plaintiff was given a drug test while at the hospital, which came back negative for all
drugs tested Plaintiff signed a release of this information to Defendant, Albert Bortz and his

wife

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146. When the Plaintiff returned to work, Albert had required that the Plaintiff seek

treatment from her therapist and sign a release of records to them.

147. Plaintiff was subject to many different forms of harassment during her employment,
some of which were on the basis of different forms of hate crimes and on the basis of her
disability impairment in addition to sexual harassment

148. The harassment described in this complaint had a substantial detrimental effect on

the Plaintiff s employment and psychological well-being. This included harassment prior to and

after Plaintiff s hospitalization in November 2015.

149. The Plaintiff did not encourage, welcome, or consent to any of the harassment
described
150. Lastly, an action brought by an individual against a private club or association for

discrimination will necessarily be brought under a state or federal ann-discrimination and/ or
public accommodations statute

151. 42 U.S.C.A.§2000a specifically prohibits discrimination in places of public
accommodations, protecting all persons’ entitlement” ...to the full and equal enjoyment of
the goods, services, facilities, privileges, advantages, and accommodations of any place of
public accommodation, as defined in this section, without discrimination or segregations on
the grounds of race, color, religion, or national origin See subsec. (a)

152. The Plaintiff has also shown that she was prohibited from being on the premises of
the club after being fired due to the disability

153. The Plaintiff has alleged facts to show multiple causes to state a claim under Title VII

of the Civil Rights Act of 1964 as a result of the Defendants’ conduct

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154. The Plaintiff sustained emotional suffering, a tangible economic detriment, financial
losses, and other injury
155. The Plaintiff is entitled to compensatory damages, punitive damages, back pay and

attorneys’ fees

SEVENTH CLAIM FOR RELIEF- VIOLATION OF TITLE VII OF THE CIVIL
RIGHTS ACT OF 1964, QUID PRO QUO SEXUAL HARASSMENT

156. Plaintiff incorporates and realleges above paragraphs of this complaint as if the same
has been set forth herein

157. Plaintiff is a woman and as such is a member of a group protected under Title VII
from discrimination on the basis of sex.

158. The dancers of Blush are required by the Defendants to perform all nude on separate
stages throughout the evening. The dancers performing on stage is the main attraction of the
Defendants’ business that provides the entertainment to it’s customers The dancers are not
paid anything for these required performances

159. The dancers are also required to work a set number of shifts per week and hours per
day by the Defendants The dancers are required to stay until the end of their shift The
dancers are not paid anything by the Defendants for working their shifts, instead the dancers
own their own profits, which they are required to share with the Defendants for providing
nude and private dancers. The prices that the dancers are required to charge the customers

and pay the Defendants is also set by the Defendant, Albert Bortz.

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160. The dancers, the Plaintiff, were required to pay these profits in addition to being
unlawfully charged 10% by the Defendants on all income earned by their credit card
earnings

161. The Defendant, Albert Bortz, improperly suggests and classifies that the dancers are
independent contractors to save on labor costs, taxes and other business expensive of a W2
employee, while requiring the dancers to still work as employees as nude dancers for his
establishment, while profiting unlawfully from their gratuities in addition to making them
pay required house fees

162. The dancers are also required to perform fully nude for the third song during their
performances, and the Dj will publically notify them infront of customers to make sure they
are fully nude The dancers are subject not only to being suspended or fined for refusing to
be fully nude, but can also be fired and sent home for not performing on stage or for being

j late to their stage sets

163. 42 U.S.C.A.§2000e (section 703) states that it shall be unlawful for an employer to

j limit, segregate, or classify his employees or applicants for employment in any way which
would deprive or tend to deprive any individual of employment opportunities or otherwise
adversely affect his status as an employee, because of such individual’s race, color, religion,
sex, or national origin

164. Defendants’ business practice is entirely on the use and exploitation of the dancers in
order for the company and its owners to earn a profit

165. The dancers in this type of industry can be the most vulnerable in subjecting

themselves to follow unlawful employment practices and rules under someone else’s control,

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because of the power that these types of club owners, Defendants, have over their economic
security So therefore, the dancers in most cases are not aware of their basic workplace rights
in this type of industry

166. As a result of the Defendants’ requirement for the dancers to work schedule shifts
without pay, pay excess fees and fines to work at the establishment, pay a portion of the
profits earned to Defendants, unlawfully pay portions of their gratuities, dance on stages as
part of the clubs entertainment throughout the evening, be denied basic workplace rights
and still be required to work as an employee instead of an independent contract or be
subjected to termination and loss of employment, the dancers suffer from a number of
emotional and financial damages by having to accept this

167. ln this type of industry there are already certain losses that some of these dancers
accept emotionally or how one may be viewed socially in today’s society So for the Plaintiff
to have dedicated years of her life working for the Defendants and having to be denied basic
workplace rights, it is not right for the Defendants to unlawfully further subject the Plaintiff
to damages by violating her other Federally protected rights

168. For these reasons and the reasons alleged above the Plaintiff has suffered from
damages as a result of the Defendants’ conduct

EIGHTH CLAIM FOR WRONGFUL DISCHARGE FROM EMPLOYMENT IN
BREACH OF CONTRACT
169. The Plaintiff incorporates and realleges above paragraphs of this complaint as if the

same has been set forth again herein

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170. This claim is not based upon a written contract, it based upon different verbal
agreements that occurred between the Plaintiff and the Defendant, Albert Bortz durirlg her
employment at Blush, that the Defendants did not follow through with.

171. A false promise concerning the terms or duration of employment may give rise to an
action for breach of contract if the plaintiff can establish the elements of a binding contract
incorporating the promise and a beach of the contract by the defendant See Prz`ce a Hz'<g/)land
Cowwum'l‘} B¢m,é, 932 F.2d 601 (7th Cir.1991) (applying lllinois law; failure to keep oral
promise, made in negotiations for plaintiffs hiring, to establish incentive compensation
program for plaintiff constituted breach of contract) Carlron a Amoi-Ogden Me/?zorz`a/ Halj>.,

918 F.2d 411, 117 Lab. Cas. (CCH) P56459 (3d Cir. 1990) (applying Pennsylvania law; even

though written contract was never executed, evidence showed that agreements made in
hiring plaintiff constituted oral contract with terms defined by written contract)

172. The Plaintiff and Defendants entered into a verbal employment agreement under

which the Plaintiff agreed to be employed as a dancer and work for the Defendants and

agreed to work a set scheduled shift and set number of days for the Defendants

173. The Defendant, Albert Bortz upon Plaintiff s initial hiring in the industry as a dancer
in 2005, verbally assured she would have job security in working for him.

174. The Plaintiff was also told by the Defendant, Albert Bortz, in 2014, that as long as
she showed record of completion of her impatient program and signed a release of
authorization to them to speak with the facility of her outpatient program, and provided
copies of her drug tests from the facility to the Defendants that she could continue her

employment at Blush. He also informed her that she would do really well at the club again,

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and they talked about what plans she might have to invest in the future on the money that
she would make from dancing. lie also informed her that she would be able to dance and
work for the Defendants until she had decided she wanted to retire from the industry

175. The Plaintiff was also required to sign a release of information to provide her drug
test results and so that the Defendants could speak with the hospital during her
hospitalization after the Defendants had requested in November 2015.

176. The Plaintiff had returned to work after her hospitalization in November 2015, where
she was required by Defendant, Albert Bortz to make sure to follow up with treatment with
the therapists and psychiatrist’s office in order to continue her employment there
Additionally, he required that she sign a release of authorization from the psychiatrist’s office
to give him and his wife permission to obtain records and to speak with the office iii order
for her to keep her employment there This is after the Plaintiff informed him that she had
already signed records from the hospital to prove that she was not on drugs during the
incident where his wife had visited her in the hospital

177. Federal law and the Americans with Disabilities Act states that:

No covered entity shall discriminate against a qualified individual with a disability
because of a disability of such individual in regard to job application procedures, the
hiring, advancement, or discharge of employees, employee compensation, job
training, and other terms, conditions, and privileges of employment 42 USCA §
12112 (a) and

A covered entity may not participate in a contractual or other arrangement or

relationship that has the effect of subjecting a covered entity’s qualified applicant or
employee with a disability to prohibited discrimination 42 USCA § 12112(b)(2)

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178. The Plaintiff agreed to sign a release of this information, which was a product of
duress for the fear of losing her employment if she did follow through with the requirement
of the Defendant, Albert Bortz.

179. ln a contract action, a particular contract is also invalid by law (called the “statute of
frauds”) when the contract was a product of duress

180. On February 7, 2016, the Plaintiff was discharged from her employment at Blush by
the Defendants’ general manager, because of her disability and because she was hospitalized
for the disability About a week later this was confirmed that the Plaintiff was being
discharged due to these reasons and to her disability by the Defendant, Albert Bortz.

181. \X/hen the Plaintiff tried to speak with the club in person in April 2016, regarding her
job and about the records she had signed for the Defendants, she was informed she was not
permitted to be on the premises of the club and had to leave

182. Plaintiff worked exclusively for Blush for indefinite periods of time Plaintiff
anticipated that her employment with Blush would be on an ongoing basis

183. Defendants discharged Plaintiff from employment without following termination
procedures promised to Plaintiff and with discriminatory causes, thereby breaching the
contract of employment

184. As a result of the Defendants’ wrongful discharge, the Plaintiff has lost earnings, has
incurred expenses and losses irl seeking other employment

185. The Plaintiff is entitled to relief for lost earnings and any other incidental expenses

occurred while seeking employment

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186. Also, in relation to the Plaintiff’s FLSA claim, individuals who seek redress for
underpayment of wages are not limited to recover pursuant to FLSA or similar state statutes;
party may properly allege breach of contact in addition to statutory violation even when the
only difference between benefits provided by contract and those provided by statute is
limitations period applicable to claim based on conduct prohibited by both contract and
statute 29 U.S.C.S. §§201 (15)

NINTH CLAIM FOR RELIEF- FRAUD CLAIM BASED ON FALSE
ASSURANCES REGARDING SECURITY

187. Plaintiff incorporates and realleges above paragraphs of this complaint as if the same
has been set forth again herein.
188. There are five fraud-based causes of action that may arise from a Defendants’

assurances as to security measures

189. This claim shows allegations for four of these causes of action, fraud, constructive
fraud, misrepresentation and statutes addressing deceptive practices or providing consumer
protection

190. An employee discharged in breach of contract may be able to bring a fraud action
based on the employer’s promise of job security

191. In relation to breach of contract, fraudulent inducement claims are most frequently
based on alleged misrepresentations concerning the duration of employment, the terms of
compensation, or working conditions Although most fraudulent inducement actions are
brought by employees in a traditional employer-employee relationship, essentially the same

action may sometimes be brought by an agent or independent contractor who allegedly has

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been fraudulently induced to perform services he or she otherwise would not have
performed Actions for fraudulent inducement of employment are frequently based on a
theory of actual fraud, fraudulent concealment or failure to disclose, or negligent
misrepresentation Finally, an employee who was fraudulently induced to perform services
for an employer may be able to recover the amount by which the value of those services
exceeded any compensation he or she was actually paid through a claim in equity based on
quantum meruit or unjust enrichment See Goode// V. Re/)rz<'g Im‘em., (citations omitted)

192. To establish a fraud claim, the Plaintiff must show that (1) the defendant made a false
representation (2) of material fact (3) with knowledge of its falsity (4) and with intent to
induce reliance (5) that did induce reliance on the Plaintiff (6) resulted irl damage to the
Plaintiff

193. The first theory of fraud is that the Plaintiff was informed by the Defendants if she
followed through with their requests of signing release forms and other medical records that
she could continue employment with them and that the Plaintiff would be able to retire
when she was ready to and the Plaintiff did sign these authorizations for fear of losing her
job with Blush, and after the Plaintiff had signed a release of these records she was fired due
to her disability

194. Another theory of fraud is the one mainly addressed in regard to the duration of
Plaintiff s entire employment with Defendants since 2005. The Plaintiff was denied basic
workplace rights and performed services for the Defendants by providing entertainment to
their establishment as an employee with unpaid wages, had promoted for the Defendants

without pay in addition to dancing, and had also paid the Defendants a required portion of

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her gratuities earned over the years The Defendants improperly classify and allege that the
Defendants are independent contractors to save on ordinary business expenses, while
requiring the dancers to pay house fees and late fees, but they are still being provided at the
dancers’ expense with the privilege of having the dancers as an employee rather than an
independent contractor. The dancers are falsely led to believe that the Defendants have a
right to also unlawfully collect 10% of all credit card gratuities earned, and the dancers are
made to believe that the Defendants are not required to pay minimum wage if they are
working the dancers on a scheduled shift as employees

195. Defendants were aware for over ten years that they were hiring and treating the
Plaintiff as an employee, charging fines, house fees and illegally taking a portion of the
Plaintiff s tips while paying no wages to the Plaintiff, having complete control of the
Plaintiff s work and improperly claiming the Plaintiff as an independent contractor instead of
an employee

196. Plaintiff was not aware of her basic workplace rights upon being hired by the

Defendants, as most dancers are unaware when they begin in this industry

197. Alot of dancers began working for the Defendants at the age of 18, just as the
Plaintiff had
198. A prior case was brought against the Defendant, One Three Five lnc., where the

Defendant was found to be in violation of Federal and state wage laws and improperly
classifying their dancers as independent contractors instead of employees Cor)"el[ a One Three

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199. The Defendant, Albert Bortz, also had threatened all remaining dancers not part of
the lawsuit that they would be fired for claiming their rights under the FLSA.

200. These agreements between the dancers and Defendants to pay these fines, house fees
and a portion of their tips and profits, are all agreements as a product of duress and under
the “statute of frauds”, because if the dancers did not agree to pay these fines and fees and
work a set schedule for the Defendants without pay under their control, the dancers would
not be permitted to work at the Defendants establishment

201. The Defendants hired the Plaintiff with the knowledge that they were violating these
Federal and state wage laws, in addition to unlawfully requiring the Plaintiff to sign a release
of her medical records in order to keep her employment Blush. Plaintiff was unaware that
they were violating these laws when they hired her as an employee, and the Plaintiff also

would not have signed her medical records if she knew they were going to fire her and

 

discriminate against her because of the disability

FLSA CLAIMS FOR MINIMUM WAGE VIOLATIONS, STRAIGHT TIME
COMPENSATION, OVERTIME PAY AND VIOLATIONS OF THE PMWA
202. Plaintiff incorporates and realleges above paragraphs of this complaint as if the same
has been set forth herein
203. lndividuals who seek redress for underpayment of wages are not limited to recover
pursuant to FLSA or similar state statutes; a party may properly allege breach of contract in
addition to statutory violation even when only difference between benefits provided by
contract and those provided by statute is limitations period applicable to claim based based

on conduct prohibited by both contract and statute 29 U.S.C.S. §§201 (15)

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204. At all times relevant to this lawsuit, Defendant, One Three Five lnc., is / was an
eligible and covered employer under the FLSA pursuant to 29 U.S.C. § 203(d).

205. At all times relevant to this lawsuit, Defendant, Albert Bortz, in his individual
capacity is / was an eligible and covered employer under the FLSA pursuant to 29 U.S.C. §
203 (d).

206. l\lotably courts that have determined that exotic dancers are employees have held
both the dancer club and its individual owners liable for their violations of the FLSA and
state labor laws T/)ompion 2). Lz`mla 677 A., lm., 779 F. Supp. 2d 139,153 (D.D.C.2011) (“As
the plaintiffs’ employers, both Allen and The House are liable for violations of the FLSA
and the District of Columbia wage laws.”) see also Mason a liam‘as}’s Geni[ewan’s Club (D.
Colo. july 27, 2015) (as the plaintiffs’ employers, both Eardley and the corporation were held
liable)

207. “To be personally liable as an `employer,' a corporate officer must either be involved
in the day-to-day operation or have some direct responsibility for the supervision of the
employee." (citation and internal quotation marks omitted); l/enium, 738 F.Supp.2d at 5-6
(granting summary judgment on plaintiffs' claim that restaurateur was employer under the
FLSA).

208. The Defendants raise an issue in a motion to dismiss that was filed by the Defendants
on December 27, 2017., alleging that the Plaintiff willingly and knowingly signed a waiver

that she would be an independent contractor. see (ECF No.4) at Vl.

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209. The Plaintiff is unfamiliar with and does not recall the signing of a waiver, but alleges
that even if there were a waiver that was signed, the waiver would be considered legally
invalid and this defense would also be insufficient for other reasons

210. First, the Plaintiff alleges that the Defendants would be in violation of the validity of
the waiver, because the Plaintiff still worked as and was treated as an employee instead of an
independent contractor.

211. There are also many instances iii which a signed waiver would be invalid, and one of
them is if the waiver violates any Federal or state laws Since the Defendants are violating
F ederal and state laws in addition to the gross negligence of not followiiig these laws, it
would be one reason to make any waiver that was signed invalid

212. Another way for a waiver to be potentially rendered invalid is content, for a liability
waiver to protect certain parties, all of those parties must be mentioned by name A party
who is not mentioned in the waiver but had a hand in contributing to a claim can be liable

213. Other ways that a waiver could be potentially rendered invalid are language and
wording of the waiver, format and location of critical language, misrepresentation, and gross
negligence and recklessness in addition to others

214. As stated above, since the Plaintiff is unfamiliar with the waiver that the Defendants
allege was signed, there is no way to specifically address the validity of the waiver at this
time, and the Defendants will have to submit this waiver during discovery

215. “Neither the common law concepts of ‘employee’ and ‘independent contractor’ nor

contractual provisions purporting to describe the relationship are determinative of

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employment status.” Malhz`s v Hom. Aul‘/). Of Umzz‘z`//a Cng/., 242 F. Supp. 2d 777, 783 (D. Or.
2002) quoting Nan a R.es., Inc., 982 F. Supp. 1427, 1433 (D Or. 1997).

216. Rather, to determine employment status under the FLSA’s broad remedial purpose,
courts across the nation apply some variant of the “economic realities test.” The Plaintiff
shows two different variations of this test below.

217. The presence of any individual factor is not dispositive of whether an
employee/ employer relationship exists Such a determination depends “upon the
circumstances of the whole activity.”

218. The totality of the circumstances surrounding the relationship between the
Defendants and their exotic dancer employees establish economic dependence by the the
exotic dancers on the Defendants, and thus employee status As a matter of economic
reality, the Plaintiff and dancers are not in business for themselves but rather are
economically dependent on finding employment through Blush. Their work is the basis of
the Defendants’ business

219. Defendants improperly classified its dancers as independent contractors and required
its dancers to pay Defendant in order to work at Defendants’ establishment Defendants also
require the dancers and the Plaintiff to pay house fees and tip outs in addition to paying
them from a portion of the earnings of the private dances and champagne rooms

220. This was also in addition to taking 10 % of the tips that the dancers earned from
credit cards, which is by law illegal for an employer to withhold any tip earnings even if they
were paid with a credit card According to the Department of Labor’s Regulations, “tips are

the property of the employee whether or not the employer has taken a tip credit under

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section 3(m) of the FLSA.” 29 C.F.R. § 531.52. Defendants unlawfully retained a portion of
tips dancers received from Defendants’ customers

221. ln addition to these fees and profits paid to the Defendants, the dancers were
required to make a weekly schedule, work a set number of shifts, work a set amount of
hours per shift, follow rules under the supervision of management, pay late fees, and were
required to be on the floor for their shift and dance on stage multiple times throughout the
evening as part of the club’s entertainment without pay So therefore, in addition to paying
the Defendants to work there and giving a portion of their earnings to the Defendants, they
were additionally working scheduled shifts for the Defendant and generating revenue for the
Defendant without pay So this allegation shows a violation under the Fair Labor Standards
Act. The Defendants deny their dancers basic workplace rights

222. The FLSA requires every "employer" to pay "each of his employees" a minimum
wage 29 U.S.C. § 206(a). The amount of the minimum wage under the FLSA has ranged
from$5.15 to $7.25 for the time period between 2005 and 2016 while the Plaintiff was
employed by the Defendants

223. Defendants denied basic workplace rights to the Plaintiff and required the Plaintiff to
work as an employee without paying her minimum wage, while instead requiring her to pay
house fees and share a portion of her earnings

224. The dancers are employees who remain economically dependent and under complete
control and direction of Defendant, Albert Bortz and Blush, but are paid no wages in
connection with their work. The dancers are required to dance on stage multiple times

throughout the evening as part of the entertainment provided to the Defendants’ customers

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The dancers are the product that the club sells and promotes to its customers The dancers
generate the primary revenue for defendants and their work is the basis of Defendants’
business The amount of control that Albert Bortz and Blush have over the dancers and
their work that is performed is actually much more than an average employer to the extent
of requiring a certain amount of makeup the dancers are required to wear and the types of
gowns the dancers must purchase during their scheduled shifts to wear at the club. The
dancers are required to work a scheduled shift set by Albert Bortz, and are required to work
a certain amount of hours for each shift The dancers are also required to be on the floor
working and talking to customers during their shifts unless they are getting ready in the
dressing room.

225. Several other federal courts that have been presented with the question of whether
exotic dancers are employees under the FLSA or independent contractors have found the
dancers to be employees See Rez'c/J a Cz`rc/e C. llws., lm., 998 F.2d 324 (5th Cir.1993)
(upholding district court's determination that exotic dancers were "employees" under FLSA
following *148° bench trial); l\/lorse v. Mer Corp., No. 1:08-cv-1389, 2010 WL 2346334
(S.D.lnd. 2010) (granting summary judgment that exotic dancers were "employees" under
FLSA); R£z`c/.) a Pn'ba Co)j)., 890 F. Supp. 586 (N.D.Tex.1995) (finding exotic dancers to be
"employees" under FLSA). These are some cases in addition to numerous other cases where
the dancers were found to be employees under the FLSA instead of independent contractors

226. The Defendant, One Three Five Inc., was already found to have violated laws of the

FLSA and PMWA by the district court for these same laws that they did and still continue to

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violate Cam'// v One T/)ree lim lm. (citation omitted) The foregoing conduct, as alleged,
constitutes a willful violation of the FLSA within the meaning of 29 U.S.C. § 216(b).
As a threshold matter, FLSA plaintiffs must prove that an employment relationship

existed with the defendant Rez`c/l a ConAgm, lm., 987 F.2d 1357,

Economic Realities Test

The following is a dominant test that is used in determining whether a given
relationship is employment or independent contractorship. This test emphasizes the extent
of control exercised over the performance of work, and is often called the “control test.” An
often-quoted formulation of this test appears in section 220 of the RESTATEMENT
(SECOND) OF AGENCY:

In determining whether one acting for another is a servant or an independent contractor, the
following matters of fact, among others, are considered:

(a) the extent of control which, by the agreement, the master may exercise over the
details of the work;

(b) whether or not the one employed is engaged in a distinct occupation or business;
(c) the kind of occupation, with reference to whether, in locality, the work is usually
done under the direction of the employer or by a specialist without supervision;

(d) the skill required in the particular occupation;

(e) whether the employer or the workman supplies the instrumentalities tools, and the
place of work for the person doing the work;

(f) the length of time for which the person is employed;

(g) the method of payment, whether by time or by the job;

(h) whether or not the work is a part of the regular business of the employer;

(i) whether or not the parties believe they are creating the relation of master and servant;
(j) whether the principal is or is not in business

Courts differ about how heavily to weigh particular factors The most “traditional” approach
is one that attaches primary importance to the first factor listed in the RESTATEMENT:
control over the details of the performance, emphasizing the right to give particularized
orders or directions See jones l/. Al‘z‘ebem/, 77 lll.App.3d 463, 33 lll.Dec.28, 396 N.E.2d

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104(lll.App.1979). During recent decades there has been a constant trend paying greater
attention to the “economic realities” of the situation Another test that is used is the “relative
nature of the work test”, this test emphasizes factors (b) and (h) in the RESTATEMENT
version of the control test, asking whether the worker has irl fact become an integral part of
the employer’s business

The Plaintiff sets forth the factors from the test above to show that she was an
employee of the Defendants and during her employment did not work as an independent
contractor:

(a) the Defendants, One Three Five Inc., and Albert Bortz had complete control over the
details of the Plaintiff s work, including the fees she was required to charge for the services
the club offered, outfits she was required to wear, amount of hours she was required to work
per shift, amount of days she required to schedule and work, times when she was required to
dance on stage throughout the evening, including fully nude stage sets, how much she was
required to pay the club from the profits she earned in the club, amount of late fees and tip
outs she was required to pay, the amount of time she was required to sell the champagne
rooms for in addition to other details

(b) the Plaintiff worked in a distinct occupation as an exotic dancer in a gentleman’s club

(c) in most cases, such as this one, this type of occupation as an exotic dancer while working
in a gentleman’s club is done under the direction of an employer and management
supervision

(d) the skill required for this occupation varies from amateur dancers auditioning for
employment for the Defendants to very experienced and skilled dancers

(e) the employer supplies the place of work, the stages, the champagne rooms, lap dance
rooms and dressing room which are all instrumentalities in the Plaintiff s work

(f) the Plaintiff has been an employee of the Defendants for over ten years

(g) the method of payment is cash or blush money that is paid directly from the customer to
the club and the club would give the Plaintiff a portion of her earnings Some of the services
that the club offered were by time such as a 30 minute or 60 minute champagne room, and
some of the services were per dance Additionally, the shifts where the Plaintiff was required
to be on the floor and dance on stage multiple times through out the evening were hourly
shifts where the Plaintiff was required to work 6-7 hour shifts and was not paid for these
shifts

(h) the work is the primary business of the employer

(i) the Defendants create a well known relation with their dancers to show the relation of
employer/ employee

(j) the principal is in business

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230. The Plaintiff not only shows the given relationship and extent of control to the most
important factors considered in the test above, but the Plaintiff asserts an employer
relationship in g of the factors that are referred to in the test Plowever, to determine an
individuals employment status under the FLSA, courts only apply an "economic reality" test
that considers various factors, such as: "(1) the degree of control exercised by the employer
over the workers, (2) the workers' opportunity for profit or loss and their investment in the
business, (3) the degree of skill and independent initiative required to perform the work, (4)
the permanence or duration of the working relationship and (5) the extent to which the work
is an integral part of the employer's business." Mom`son, 253 F.3d at 11. "No one factor
standing alone is dispositive and courts are directed to look at the totality of the
circumstances and consider any relevant evidence." ld. "The final and determinative question
must be whether the totality of the circumstances considered establishes the personnel are so
dependent upon the business with which they are connected that they come within the
protection of the FLSA or are sufficiently independent to lie outside its ambit." ld. (quoting
Use@/ a Pz'{grz`/?z Equzl`b. Co., 527 F.2d 1308, 1311-12 (5th Cir.1976)). l

231. To state a claim under the FLSA the plaintiff must allege the following elements: (1)
plaintiff was employed by defendant during the relevant period (2) plaintiff was engaged in
commerce or employed by an enterprise engaged in commerce or the production of goods
for commerce that had annual gross sales of at least $500,000 and (3) the defendant failed to
pay plaintiff minimum wage and/ or overtime pay. . .the Plaintiff has done so.

Source: 8th Cir. l\/lodel Civ. jury lnstr. §10.01 (2011)

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232. At all relevant times the Defendants knew and recklessly disregarded that the FLSA
and Pennsylvania Labor Code applied to the Plaintiff and that under the economic realities
test, the Plaintiff was obviously an employee, not an independent contractor, entitled to
minimum wage

233. At all relevant times, the Defendants knew and recklessly disregarded that the
Plaintiffs was a tipped employee

234. At all relevant times, Defendants knew and recklessly disregarded that the dances and
room fees were tips, not wages

235. At all times relevant the Defendants knew and recklessly disregarded that they were
improperly retaining a portion of the Plaintiff s tips and that they required the Plaintiff to
pay the Defendants in cash for each shift work

236. The Third Circuit has not considered the level of detail necessary to plead a PMWA
claim, but it has considered the level of detail necessary to plead similar overtime claims
under the FLSA. Davis 2). Abington Me/)z ‘l Hoij)., 765 F.3d 236,241 (3d Cir.2014). Because the
PMWA “substantially parallels” the FLSA, this Court should look to the federal courts’
interpretation of the FLSA when analyzing claims under the PM\X/ A. See Ford-Greene, 106
F. Supp. 3d at 610-13 (applying Third Circuit’s analysis in Davis to the plaintiffs claims
under both the FLSA and Pl\/[WA. The Plaintiffs allegations that state a claim for relief
under the FLSA also give rise to a plausible claim for relief under the PMWA.

237. Due to Defendants FLSA and state law violations, Plaintiff is entitled to recover from
the Defendant, compensation for unpaid wages; an additional equal amount as liquidated

damages; attorneys’ fees and costs, pursuant to 29 U.S.C. § 216(b).

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CLAIM FOR RELIEF-UN]UST ENRICHMENT

238. Plaintiff incorporates and realleges above paragraphs of this complaint as if the same
has been set forth again herein

239. The Defendants recognize by acknowledging in their motion to dismiss, vfee (ECF No.
4) at Vll, that under Pennsylvania law, “to sustain a claim of unjust enrichment, a claimant
must show that the party against whom recovery is sought either wrongfully secured or
passively received a benefit that it would be unconscionable for her to retain.” Torc/)z`a z).
Torc/)z`a, 346 Pa. Super. 229,499 A.2d 581, 582 (1985).

240. The Defendants violated Federal and State labor laws while unlawfully retaining a
portion of the Plaintiff s earnings in addition to imposing fines and house fees Also, the
Defendants unlawfully retained a portion of the tips that the Plaintiff earned

241. The Plaintiff was not paid anything by Defendants for the services that she rendered
or anything in relation to her work for the Defendants, and the Defendants did not pay the
Plaintiff any wages for the hours worked during her shifts while employed for the
Defendants

242. The Plaintiff’ s earnings were solely earned herself on the dances and private rooms
that she sold in addition to her own tips that she earned The Plaintiff s allegations show that
the Defendants wrongfully secured benefits and earnings of the Plaintiff while avoiding
other labor costs for other employees by imposing tips out from the dancers

243. Additionally, by unlawfully alleging that the dancers are independent contractors the
Defendants are saving on wages, taxes, insurance, benefits, and other costs associated with a

W2 employee, while still charging the dancers house fees that an independent contractor

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would pay, but still requiring the dancers to make a schedule and work as an employee under
the full supervision of defendants and their rules while also taking a portion of the profits
from their services

244. These allegations show that the Defendants unlawfully and wrongfully secured a
benefit, but that is also excessive and not right

245. An employee who was fraudulently induced to perform services for an employer may
be able to recover the amount by which the value of those services exceeded any
compensation he or she was actually paid through a claim irl equity based on quantum
meruit or unjust enrichment see Goade/l l/. Re/mg Inlem., Im., 683 F. Supp. 1051 (E.D. Va.
1988).

246. The Plaintiff does not assert that she deserved to be compensated more or that her
compensation was illegal, the Plaintiff strongly contends that she was not compensated
anything by the Defendants, in fact they unlawfully retained gratuities of the Plaintiff. The
Plaintiff asserts that her compensation was earned herself from tips she earned and other
services rendered for lap dances and champagne rooms and she was not compensated
anything by the Defendants while working under their strict control and direction of the
employment and earning revenue for them.

247. Under Pennsylvania law, a claim of unjust enrichment must allege the following
elements (1) plaintiff conferred a benefit on the defendant (2) the defendant appreciated the
benefit and (3) acceptance and retention by the defendant of the benefits, under the
circumstances would make it inequitable for the defendant to retain the benefit without

paying for the value of the benefit

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248. The assertion from the defendants’ motion to dismiss that the Plaintiff and
Defendants had an agreement that stipulated how the Plaintiff was to be compensated is
irrelevant, the Plaintiff was not compensated anything by the Defendants

249. “The polestar of the unjust enrichment inquiry is whether the defendant has been
u)y`usz‘§/ enriched; the intent of the parties is irrelevant.” Lz'wba€/) a Cz`g/ ofth`lade§Dbz`a, 905
A.2d 567,577 (Pa. Commw. 2006).

250. lt is black letter law that tips received by an employee are the employee’s tips an an
employer has no ownership interest in said tips The Department of Labor’s Regulations
state, “tips are the property of the employee whether or not the employer has taken a tip
credit under section 3(m) of the FLSA.” 29 C.F.R. § 531.52.

251. The Plaintiff asserts the following to support the elements in her claim for unjust
enrichment that (1) the Plaintiff paid the Defendants a portion of her earnings for the
services rendered at the club, and Defendant sets the fees that the Dancers may charge a
customer for the private performances; the Plaintiff paid required tips outs to some of the
Defendant’s employees which covered the expenses and cut costs for the Defendants having
to pay extra for employees; Plaintiff paid Defendants a portion of all of her credit card tips
and earnings; Plaintiff paid defendants house fees, late fees and fines; Plaintiff also worked a
required schedule for the Defendants under their complete control without being paid
minimum wage or any compensation during those shifts; Plaintiff had to purchase her own
work attire that was required to wear by the Defendants, and they did not pay anything for
these outfits, actually the Defendants make a profit off of these required outfits that they sell

to the dancers in their store; (2) without the employment of the dancers, the Defendants

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would generate no revenue and would not be in business; the Defendants have a willful
policy and practice of having the Plaintiff and dancers lower their business expenses by
requiring dancers to tip certain individuals a required minimum amount to reduce its labor
costs to these other employees; the Defendants unlawfully retain a portion of the dancers
tips from credit cards after charging the customers a fee for the credit card transactions; the
Defendants also set the fees for the services they offer in the club and retain a portion of the
dancers earnings from these services; Defendants set the price of the houses fees, late fees
and fines that the Dancers pay; Defendants save on labor costs, taxes, insurance and other
business expense of a W2 employer by claiming the dancers are independent contractors but
unlawfully still treating them as an employee; (3) the portion of the dancers earnings that the
Defendants keep making it inequitable because the Dancers are paying unnecessary fees in
providing these services, while the Defendants are taking half of the profits earned while
contributing none of these expense that the dancers pay, actually they are charging the
dancers in addition to keeping a portion of their earnings; the fact that the Defendants
charge the customers for credit card transactions and unlawfully take 10 % of all credit card
earnings from the dancers unlawfully make it inequitable; by the Defendants saving labor
costs and other ordinary business expenses by imposing other fees and required tip outs on
the dancers make it inequitable; by claiming the dancers are independent contractors but still
having them work required shifts as an employee under their control without paying them
minimum wage or any compensation make it inequitable and unlawful under Federal and

State labor laws

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252. A corollary principle applies that “a person is not permitted to profit by his own
wrong. Whether the defendant’s conduct is “wrongful” will ordinarily turn on principles
outside the Restatement.

253. Compared to the open-ended implications of the term ‘unjust enrichment,’ instances
of unjustified enrichment are both predictable and objectively determined, because the
question is not moral but legal

254. The Restatement provides a set of remedies other than compensatory damages for
harm. They concentrate on what the defendant has received rather than what the Plaintiff
has lost

255. The remedies cover money judgments and the measure of unjust enrichment
focusing primarily on the defendant’s gain rather than the claimant’s loss The remedy part
explains how it draws important distinctions between innocent recipients and conscious
wrongdoers

256. As a result of the Defendants’ unjust enrichment, the Plaintiff is entitled to
reimbursement restitution and disgorgement from Defendants of the benefits conferred by
the Plaintiff

NEGLIGENCE

257. Plaintiff incorporates and realleges above paragraphs of this complaint as if the same
has been set forth again herein.

258. Plaintiff brings this cause of action for negligence, and a number of allegations in this
complaint show different legal theories for negligence, and other torts in this complaint are a

result from negligence as well as intentional malice

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259. To bring a negligence claim, a plaintiff must only prove that the defendant owed a
j legal duty of care, breached that duty and therefore the Plaintiff suffered an injury

260. To state a claim against an owner or operator of a restaurant or tavern for negligent
failure to protect against criminal assault a Plaintiff must allege the following elements (1) the
defendant had a duty to exercise reasonable care to protect the plaintiff from criminal assault
(2) the defendant breached that duty and (3) the defendant’s negligence was a cause of the
injuries suffered by the plaintiff in the assault

261. The first element is to show that the defendant had a duty to exercise reasonable care
to protect the plaintiff from criminal assault lf the plaintiff or the plaintiffs decedent was a
patron at the defendant’s establishment when the assault occurred, it usually will be possible
to establish a duty on the basis of the “special relationship” that exists between the owner or
operator of a restaurant or tavern and person on the premises see SZ th`//zjz)s v O ’Do)me!l 137 lll
App3d 639, 92 lll Dec 354,484 NE2d 1209 (1985). The RESTATEl\/fENT SECOND OF
TORTS recognizes certain duties that may be relevant to the plaintiffs attempt to show that
the defendant was subject to a duty to exercise care to protect against criminal assault See
§302 B [risk of intentional criminal conductj, §315 [duty based on “special relationship”
between person with responsibility to protect and person to be protectedj.

262. The Defendant was a current employee during the time of this incident and prior to

l entering the club, she was not terminated, suspended or prohibited from entering the club.

The Plaintiff had just worked the evening prior to this incident

263. The Plaintiff is asserting that the Defendants had a duty to call the police for the

Plaintiff or some other form of assistance, after she asked them to call the police or to call

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for help, and with the condition that she was in. Additionally, she told them she was afraid
and did not want to leave with the individual who is referred to iii here and who is also a
former employee of the Defendants

264. Instead, the general manager falsely accused her of being on drugs and first stated he
would call the police and then changed his mind and made the individual physically take the
Plaintiff off the premises The fact that the Defendant is claiming that the Plaintiff was
terminated prior to entering the club in their motion to dismiss is a completely false
statement, because the Plaintiff just worked the evening prior to this incident when she
informed the general manager that she started to not feel well See (ECF No. 4) at Vlll.

265. The owner or operator of a restaurant or tavern may have a duty to comply with a
reasonable request to telephone the police to report an actual or threatened assault, or to
make a telephone call so that some other person can call the police, even if the assault victim
and the person making the request are not invitees and the assault is not occurring on the
premises of the restaurant or tavern lf the defendant or the defendant’s employees knew
that an assault was imminent or was taking place, the plaintiff may be able to show that they
were negligent in failing to intervene directly to stop the assault, or in failing to call the police
see, e.g. Neein z). Cezr/ezieo 139 Mont 512,365 P2d 637 (1961)

266. Negligence in failing to intervene to stop an assault or call the police may be
particularly obvious where the person who was being assaulted, or some other person,
requested help or requested that the police be called, and the request was refused or ignored
5ee Se/mez`der a Pz`nni 173 Colo 232, 476 P2d 1004 (1970). See also LIABILITY OF

OTl-lER\X/ISE UNINVOLVED PERSON FOR HARl\/l RESULTING FROM REFUSAL

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TO TELEPHONE OR TO ALLOW ANOTHER TO TELEPHONE FOR
El\/IERGENCY OR POLICE l-lELP 37 ALR 4th

267. The foreseeability can be established in many ways, one is that it is possible to show
that the defendant’s general manager should have known that an assault or an accident was
likely to occur refusing to call for help or the police due to the physical symptoms and the
behavior that the Plaintiff was showing Additionally, the Plaintiff informed him that she did
not feel comfortable and did not want to leave with the individual who he made take the
Plaintiff out of the club, and who was also drinking at their establishment for hours As far as
the element of foreseeability is concerned, it generally will be sufficient for the plaintiff to
show that it was foreseeable that an assault would be committed in some manner. The fact
that the assault was committed in an unexpected or unforeseeable manner does not make the
assault unforeseeable Yarbough z). Em/ey/ 705 SW2d 198 (T ex App 1985) writ ref nre; The
plaintiff has established the first two elements already Another way to establish the second
element for breach of duty instead of the refusal to call assistance or the police for the Plaintiff,
the Defendants also made the Plaintiff leave with the individual who had been drinking for
hours at their establishment In order to establish negligence based on serving alcohol to a
person, the plaintiff may have to show that an assault was a foreseeable consequence of the
provision of alcohol and the person’s resulting intoxication see Bz`i/)op v. Fair lianes Beu//z`ng Ine
623 FSupp1195(ND Ga1985)

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268. The last element the Plaintiff must allege is the defendant’s negligence was a cause of
the injuries suffered by the plaintiff in the assault lf the general manager would have called

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the police or called for some other assistance for the Plaintiff after she requested due to the

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severity of the behavior she was showing and the physical symptoms such as her pupils that
the general manager made a direct reference to by believing she was on drugs, the Plaintiff
would not have suffered from multiple injuries and damages that progressed after being forced
to leave the club. Additionally, if the general manager would not have forced the Plaintiff to
leave with the individual referred to, she would have never been mentally taken advantage of,
sexually assaulted, or endured the neurological damages that occurred from insomnia and the
psychotic break, and lastly if the police or assistance would have been called at the time of the
Plaintiffs request, it would have prevented her from spending almost two weeks in Western
Psychiatric Hospital as a result from intentional and negligent acts

269. The plaintiff has established all of the elements with factual allegations in the
Complaint to state a claim for negligence that is legally sufficient The complaint also asserts
that while bringing this cause of action for negligence, other torts in the Complaint are also a
result from intentional and unintentional negligence

270. Another theory that the Plaintiff can state a claim for in a related or alternative
negligence action, is a dram shop action ln order to establish the defendant’s liability in an
action under a dram shop statute, it generally will be necessary to show that the plaintiff was
assaulted by a person to whom the defendant had served alcoholic beverages while the
assailant was visibly intoxicated see. e.g. Nom/ood e. Marroeeo 586 F Supp 101 (D DC 1984)

271. Another theory that the Plaintiff can state a claim under is for negligent failure in the
retaining and supervision of an employee under Title Vll of the Civil Rights Act of 1964 and
other State law claims Defendants and management were informed of harassment and

discrimination that was an ongoing occurrence from their employees and management, and

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no actions were taken by the Defendant to prevent it from occurring after the Complaints
were made by the Plaintiff. The Plaintiff asserts one example, by showing that the Defendants
informed the Plaintiff that they were aware that employees were “messing with her” after her
hospitalization Plaintiff informed Defendants of harassment that had occurred prior to and
after the hospitalization in November 2015.
272. Additionally, any violation under the ADA also constitutes an action for negligence
273. Due to the Defendants negligent actions, the Plaintiff is entitled to recover from
damages resulting from the negligence
DAMAGES
The Plaintiff has suffered from a list of damages from economic losses, financial losses,
losses of other employment personal injuries, neurological issues, psychological distress,
social losses, PTSD, depression, anxiety, pain and suffering among many other specific
damages not listed

PRAYER FOR RELIEF

WHEREFORE, Plaintiff, prays for relief in the following forms:

1. A declaration that the Defendants have violated pertinent sections of the ADA and PA State
law

2. An award of pecuniary losses to Plaintiff

3. An award of compensatory damages to Plaintiff, including back pay and compensation for
mental suffering and other financial losses

4. An award of punitive damages to the Plaintiff

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5. Lost Earnings

6. Incidental expenses occurring while seeking other employment

7. A declatory judgment that the practices complained of herein are unlawful and under the
FLSA and PMW A

8. An award of unpaid minimum and overtime wages to Plaintiff

l 9. Restitution of wages and gratuities improperly retained by the Plaintiff

10. An award of liquidated damages to the Plaintiff

11. An award of costs and expenses and any attorneys’ fees that may apply

12. Any other relief to which the Plaintiff is justly entitled

DEMAND FOR |URY TRlAL

Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a

trial by jury on all questions of fact raised by this complaint

Dated: October 27, 2017 Respectfully submitted,

R jea a Silla
Pro Se Litigant

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